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                             EXHIBIT
                             EXHIBIT D
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                      The State Bar                                            OFFICE OF
                                                                               OFFICE OF PROFESSIONAL
                                                                                         PROFESSIONAL COMPETENCE
                                                                                                      COMPETENCE


                      of California
                      180 Howard Street,
                      180 Howard Street,San
                                         San Francisco,
                                             Francisco, CA
                                                        CA 94105
                                                           94105                                      lrs@calbar.ca.gov
                                                                                                      Irs@calbar.ca.gov




  November 16, 2022



  Teresa Vuki
  Orange County Bar
                 Bar Association
                     Association Lawyer
                                 Lawyer Referral
                                        Referral &
                                                 & Information  Service
                                                    Information Service
  P.O. Box 6130
  Newport  Beach, CA
  Newport Beach,  CA 92658

  RE:
  RE:        RECERTIFICATION AS
             RECERTIFICATION AS AA CERTIFIED
                                   CERTIFIED LAWYER
                                             LAWYERREFERRAL
                                                    REFERRAL SERVICE
                                                             SERVICE (LRS)
                                                                     (LRS)
             (EFFECTIVE
             (EFFECTIVEFROM
                        FROM11/15/2022
                             11/15/2022THROUGH
                                        THROUGH11/15/2023)
                                                11/15/2023)


  Dear Ms. Vuki:

                  withBusiness
  In accordance with   Business and Professions Code section
                                                       section 6155 and Rules
                                                                           Rules of
                                                                                  of the State Bar,
  Orange County
  Orange   County Bar
                    Bar Association
                        AssociationLawyer
                                     LawyerReferral
                                            Referral &
                                                     & Information    Service has been
                                                        Information Service         been approved
                                                                                          approved for
                                                                                                    for
  recertification in the following county: Orange.
                                           Orange. This
                                                   This certification
                                                         certification is
                                                                       is effective
                                                                          effective from
                                                                                     from 11/15/2022
                                                                                          11/15/2022
  through 11/15/2023.

  This recertification
  This recertification is based
                          basedon
                                onthe
                                   theinformation
                                       information provided
                                                   provided in
                                                             in your
                                                                your recertification
                                                                     recertification application
  dated October 31, 2022.

  Enclosed
  Enclosed isisyour
                your Certificate
                     Certificate of
                                 of Compliance.
                                    Compliance.ItIt isisyour
                                                         yourduty
                                                             duty to
                                                                  to ensure
                                                                     ensure continued
                                                                            continued compliance of all
  certification requirements.

  Thank you
        you for
              for your commitment  toproviding
                       commitment to providingaccess
                                               access to affordable
                                                         affordable legal
                                                                     legal services
                                                                           services and
                                                                                    and protecting
                                                                                        protecting
  the public.

  Sincerely,




  Office of
         of Professional Competence




 San Francisco Office
               Office                                      www.calbar.ca.gov                       Los Angeles Office
                                                                                                               Office
 180 Howard Street                                                                                 845 South Figueroa Street
 San Francisco, CA
                CA 94105
                    94105                                                                          Los Angeles, CA
                                                                                                                CA 90017
                                                                                                                    90017

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   CERTIFICATE
   CERTIFICATE OF
               OF COMPLIANCE
                  COMPLIANCE
                                 The State Bar of California
                                     hereby authorizes

              OrangeCounty
              Oranp         CountyBar  BarAssociation
                                            I
                                             Association               4,,C%


           Lawyer Referral & Information
                                      Information Service  Service
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                              asaaLawyer
                                  LawyerReferral
                                         Referral Service
                                                  Service in I
                                          Ii I          !   Ii•

                         (
                                   Orange County
                                          mi!                     1t       _




              Effective from
                        from November 15, 2022 through November 15, 2023
                                                    ,

This lawyer
This  lawyer referral service is
                              is certified
                                 certified with
                                           with the State Bar of California and conforms
                                                                                 conforms with
                                                                                            with
  Business and
  Business   and Professions
                  ProfessionsCode
                                Codesection
                                       section6155
                                               6155and
                                                    and Rules
                                                        Rulesofofthe
                                                                  the State
                                                                      State Bar
                                                                            Bar of
                                                                                of California.
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                                                •
                                                                                            Leah Wilson
                                                                                         Executive Director
 Certification #033
                                                                                     The State Bar of California
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